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                       Exhibit 1
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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MAINE


  SARAH N. COFFEY;
  VICKIE L. MCMULLEN;
  KARIN A. HILLS; and
  JANE C. FORRESTER WINNE, on behalf
  of herself and all others similarly situated,

                         Plaintiffs,

  v.

  NATIONAL COLLEGIATE STUDENT
  LOAN TRUSTS 2001-CP1, 2002-CP1,
  2003-1, 2004-1, 2004-2, 2005-1, 2005-2,              Civil Action No. 1:16-cv-00229-JDL
  2005-3, 2006-1, 2006-2, 2006-3, 2006-4,
  2007-1, 2007-2, 2007-3, 2007-4 and the
  NATIONAL COLLEGIATE MASTER
  STUDENT LOAN TRUST;
  WILMINGTON TRUST COMPANY;
  THE FIRST MARBLEHEAD
  CORPORATION;
  U.S. BANK NATIONAL ASSOCIATION;
  TRANSWORLD SYSTEMS, INC.;
  ABRAHAMSEN RATCHFORD, P.C.;
  VCG SECURITIES, LLC; and
  TURNSTILE CAPITAL MANAGEMENT,
  LLC,

                         Defendants.



                       DECLARATION OF RAYMOND MOREL
IN SUPPORT OF THE FIRST MARBLEHEAD CORPORATION’S MOTION TO DISMISS

              I, Raymond Morel, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

         1.       I make this declaration in support of The First Marblehead Corporation’s Motion

  to Dismiss and Incorporated Memorandum of Law.1


  1
    As of May 4, 2017, The First Marblehead Corporation has changed its name to “Cognition
  Financial Corporation.” Because the Second Amended Complaint was filed before the name
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        2.      I am an Executive Vice President and Chief Financial Officer for The First

 Marblehead Corporation n/k/a Cognition Financial Corporation (“First Marblehead”). I have

 been employed by First Marblehead since 2006. My responsibilities included maintaining an

 awareness of the business operations of First Marblehead and its subsidiaries. I have personal

 knowledge of the facts state herein and, if asked to do so, I could and would competently testify

 thereto. To the extent any of my personal knowledge is based on a review of First Marblehead’s

 business records, they are appended to this Declaration.

        3.      Through my employment, described in Paragraph 2, I am familiar with First

 Marblehead and its subsidiaries’ former relationships to the National Collegiate Student Loan

 Trusts and First Marblehead and its subsidiaries’ current business operations.

        4.      First Marblehead is not registered with the Maine Secretary of State and has no

 offices, locations, or employees in Maine. First Marblehead does not employ anyone in Maine to

 collect debts or for any other purpose.

        5.      During 2005-2007, when the student loans were assigned to National Collegiate

 Student Loan Trusts 2005-1, 2005-3, 2006-3, 2007-1 (the “Trusts”), First Marblehead’s former

 subsidiary, First Marblehead Data Services, Inc. (“FMDS”), was the Administrator for each of

 the Trusts.

        6.      Attached as Exhibit A is an excerpt of a true and correct copy of Form 424B5 for

 National Collegiate Student Loan Trust (“NCSLT”) 2005-1, which was publicly filed with the

 U.S. Securities and Exchange Commission in 2005 and identifies FMDS as the Administrator for



 change, it refers to “The First Marblehead Corporation.” For clarity, this declaration will use First
 Marblehead, defined as “The First Marblehead Corporation n/k/a Cognition Financial
 Corporation.”

                                                  2
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 NCSLT 2005-1. Ex. A at 5. The document in its entirety as available at

 https://www.sec.gov/Archives/edgar/data/1317703/000095011605000694/0000950116-05-

 000694.txt.

         7.      Attached as Exhibit B is an excerpt of a true and correct copy of Form 424B5 for

 NCSLT 2005-3, which was publicly filed with the U.S. Securities and Exchange Commission in

 2005 and identifies FMDS as the Administrator for NCSLT 2005-3.         Ex. B at 6. The document

 in its entirety as available at

 https://www.sec.gov/Archives/edgar/data/1338373/000112528205005228/0001125282-05-

 005228.txt.

         8.      Attached as Exhibit C is an excerpt of a true and correct copy of Form 424B5 for

 NCSLT 2006-3, which was publicly filed with the U.S. Securities and Exchange Commission in

 2006 and identifies FMDS as the Administrator for NCSLT 2006-3. Ex. C at 5. The document

 in its entirety as available at

 https://www.sec.gov/Archives/edgar/data/1374067/000112528206005971/b414977_424b5.txt.

         9.      Attached as Exhibit D is an excerpt of a true and correct copy of Form 424B5 for

 NCSLT 2007-1, which was publicly filed with the U.S. Securities and Exchange Commission in

 2007 and identifies FMDS as the Administrator for NCSLT 2007-1. Ex. D at 5. The document

 in its entirety as available at

 https://www.sec.gov/Archives/edgar/data/1223029/000089968107000201/national-

 424b5_030207.htm.

         10.     On March 2, 2012 First Marblehead sold to Route 66 Ventures, Inc., d/b/a Goal

 Structured Solutions, all of its outstanding capital stock in FMDS. Following the sale of FMDS,

 First Marblehead and its affiliates ceased providing trust administration services.
                                                  3
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        11.     Attached as Exhibit E is an excerpt of a true and correct copy of Form 10-Q for

 First Marblehead, which was publicly filed with the U.S. Securities and Exchange Commission

 in 2012, discussing the sale of FMDS and First Marblehead’s exit of the trust administration

 business. Ex. E at 5. The document in its entirety as available at

 https://www.sec.gov/Archives/edgar/data/1262279/000119312512225538/d304322d10q.htm

        12.     Beginning on March 1, 2009, First Marblehead’s subsidiary, First Marblehead

 Education Resources, Inc. (“FMER”) was appointed Special Servicer to the Trusts.2

        13.     On April 13, 2012, FMER resigned as Special Servicer and U.S. Bank assumed

 the role of Special Servicer on June 21, 2012.

        14.     FMDS was never the Administrator when U.S. Bank was the Special Servicer.

        15.     Neither First Marblehead nor any of its subsidiaries have acted on behalf of the

 Trusts or directed anyone else to act on behalf of the Trusts since 2012.




 2
  As of May 4, 2017, First Marblehead’s subsidiary, First Marblehead Education Resources, Inc.
 became “Cognition Lending Corporation.”

                                                  4
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        16.     First Marblehead has not entered any agreement that would allow it to direct any

 of U.S. Bank’s actions on behalf of the Trusts.


         I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

 Executed on May 17, 2017

                                                             /s/ Raymond Morel

                                                              Raymond Morel




                                                   5
